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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF GEORGIA
                                   AUGUSTA DIVISION

UNITED STATES OF AMERICA,                    )
                                             )
v.                                           )       1:21-cr-00048
                                             )
SAMMIE LEE SIAS,                             )

                          DEFENDANT’S PROPOSED VOIR DIRE

       COMES NOW Defendant Sammie Lee Sias, by and through his undersigned counsel,

pursuant to Fed. R. Crim. P. 24(a)(2)(B), and submits the following questions with which the

prospective trial jurors in this case should be examined:

1.     Are you employed? If so, what is your occupation?

2.     Have you at any time been married? If so, what is/was your spouse’s occupation? What is

your current marital status?

3.     Do you have children?

       i.      If so, how many?

       ii.     If they are not minors, what are their occupations?

       iii.    If they are in college, where are they enrolled and what are they studying?

4.     How long have you lived at your current residence?

5.     Have you at any time served in the military (including United States Coast Guard and

United States Merchant Marine)?

       i.      If so, what branch?

       ii.     How long did you serve?

       iii.    What was your rank upon the completion of your service?

6.     Do either you or your spouse belong to any social, civic, professional, fraternal, religious,



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or political organization? If so, which organizations do you or your spouse belong to?

7.     What is the highest level of formal education which you completed? If you attended

college, where were you enrolled and what was your field(s) of study?

8.     Are you or any members of your family related to, or personally acquainted with, the

following persons:

       (a)     The Honorable J. Randal Hall, United States District Judge;

       (b)     Mr. David Estes, United States Attorney for the Southern District of Georgia;

       (c)     Ms. Patricia Rhodes, Assistant United States Attorney for the Southern District of

Georgia;

       (d)     Ms. Tara Lyons, Assistant United States Attorney for the Southern District of

Georgia;

       (e)     Mr. Sammie Sias;

       (f)     Mr. Ken Crowder or Mr. David Stewart, counsel for Sammie Sias;

       (g)     [Read names from all lists of witnesses submitted by all parties]

       (h)     Any other prospective jury panelist in the courtroom this morning? If so, who?

       (i)     Any person associated in any capacity with:

               a.     The United States Attorney’s Office;

               b.     The Federal Bureau of Investigation;

               c.     The Georgia Bureau of Investigation;

9.     Do you, your family members or close friends have any training or education in any aspect

of the legal field? What type?

10.    Have you, a family member or friend ever been employed in any aspect of law

enforcement?



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       i.       For whom did you, your family member or your friend work?

       ii.      Have you every discussed with them the guilt or innocence of people charged with

violating the law?

11.    Have you ever served as a juror in a civil or criminal trial?

       If so:

                (a)    Was the trial civil or criminal?

                (b)    Was the trial in federal or state court?

                (c)    Were you the foreperson?

       If the trial was criminal:

                (d)    Do you believe that your service as a juror in any previous criminal trial will

       have affected your ability to render a fair and impartial verdict in this case?

12.    Have you, a family member or a close friend ever been a witness or given any type of

statement in a civil or criminal proceeding? If so, please explain.

13.    Do you personally know anyone who has been the subject of a criminal investigation?

14.    Have you, a family member or friend ever been a victim of a crime?

15.    Have you, a family member or friend ever been audited?

16.    Have you, a family member, or close friend ever been an active member of a neighborhood

association?

17.    Have you, a family member, or close friend ever worked in a government job? If yes, please

explain.

18.    Do you agree with our basic constitutional presumption that every person charged with a

criminal offense is presumed innocent of any crime until proven guilty beyond a reasonable doubt?

If so, would you have any difficulty applying this presumption?



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19.      Would you change your verdict if a majority of the other jurors were voting one way and

you were in the minority voting the other way?

20.      Would you tend to give any greater weight or credibility, no matter how slight, to

prosecution witnesses merely because they are testifying on behalf of the government?

21.      Is there anything that you have seen, heard, or read about in this case that would interfere

with your ability to render a fair verdict in this case based solely on the evidence presented in

court?

22.      Do you have any medical condition or burden of any type that would pose any difficulty to

your being attentive to the presentation of evidence in this case?

23.      Do you know of any reason why you could not serve or ought not to serve as a juror in this

case, or anything which makes you doubtful as to whether you could not serve with complete

impartiality as to the defendant and the government?

24.      If you were a defendant in this court, is there a reason why you would not want to have

someone just like you sitting on the jury?

25.      Do you believe that the fact that government investigates someone means that government

had a basis to do so?

26.      This case may take a week to complete. Does anyone have any problem at home or at work

which might make you lose your concentration during the trial or cause you to hurry the decision-

making process in the jury room?

27.      The law provides that the government presents its case first. If you are selected as a juror,

would you be tempted in any way to not wait until the very end of the case before making up your

mind regarding this case?

28.      If you vote in elections, do you believe that the way you vote has any bearing on your



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ability to be fair and impartial in this case? If so, in what way?

29.    Do any of you follow the news on a regular basis? If so, what are the main sources of the

local and national news that you get?

30.    Do you believe that all defendants have the right to a presumption of innocence? Do you

have any problem with applying that?

       Respectfully submitted this 19th day of July, 2022.

                                              /s/ Ken Crowder
                                              /s/ David Stewart
                                              CROWDER STEWART LLP
                                              540 James Brown Boulevard
                                              Post Office Box 160
                                              Augusta, Georgia 30903
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                                   CERTIFICATE OF SERVICE

        The undersigned certifies that I have on this day served all the parties in this case in

accordance with the notice of electronic filing (“NEF”) which was generated as a result of

electronic filing in this court.

        This 19th day of July, 2022.

                                            /s/ David M. Stewart
                                            CROWDER STEWART LLP
                                            540 James Brown Boulevard
                                            Post Office Box 160
                                            Augusta, Georgia 30903
                                            706.434.8799
                                            706.922.7874 (Fax)




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